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     1                                          NOTE: CHANGES MADE BY THE COURT
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     8                             UNITED STATES DISTRICT COURT
     9                           CENTRAL DISTRICT OF CALIFORNIA
    10                                         WESTERN DIVISION
    11
    12   CARL ZEISS AG and ASML                      Case No. 2:17-cv-03221 RGK (MRWx)
         NETHERLANDS, B.V.,
    13                                               [PROPOSED] ORDER RE: TRIAL
                                Plaintiffs,          LOGISTICS
    14
                v.                                   Trial Date: July 11, 2018
    15
         NIKON CORPORATION, SENDAI                   Hon. R. Gary Klausner
    16   NIKON CORPORATION, and                      Hon. Michael R. Wilner
         NIKON INC.,
    17
                                Defendants.
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    19
    20          WHEREAS the parties, Plaintiffs Carl Zeiss AG and ASML Netherlands

    21   B.V., and Defendants Nikon Corporation and Nikon Inc., through their counsel of

    22   record, have stipulated and agreed pursuant to Civil Local Rules 7-1 and Federal

    23   Rule of Civil Procedure 29, the Court orders as follows:

    24          THAT each party will provide to the other party a list of deposition

    25   designations to be used in that party’s case no later than 3:00 p.m. one calendar day

    26   before their intended use. The disclosure should identify by page and line the

    27   designated portions of the testimony that the party wishes to play. Any objections

    28   and counter-designations shall be provided by 7:00 p.m. one calendar day before
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         [PROPOSED] ORDER RE TRIAL LOGISTICS
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     1   the testimony is to be played. Any counter-counter-designations shall be provided
     2   by 9:00 p.m. one calendar day before the testimony is to be played. The parties will
     3   meet and confer at 9:00 p.m. one calendar day before the testimony is to be
     4   played. If any of the deposition designations change after the deadline, the party
     5   intending to use the designation will promptly notify the opposing party of the
     6   changes. If good faith efforts to resolve the objections fail, the objecting party shall
     7   bring its objections to the Court’s attention in writing, not later than 8:00 am the
     8   morning of the proposed use of the deposition.
     9          THAT, for the purposes of this action only, certified translations produced in
    10   this case are not objectionable on the grounds of authenticity or on the ground that
    11   the certified translation is inaccurate.
    12          THAT, for purposes of this action only, each exhibit appearing on the
    13   parties’ joint exhibit list (ECF No. 460-1) is admissible at trial, and the parties
    14   waive all objections to those exhibits, subject to the Court’s rulings on the parties’
    15   respective motions in limine. As permitted or limited by the Court, a party
    16   introducing an exhibit appearing on the joint exhibit list need not establish a
    17   foundation for the exhibit, provided, however, that the party introduce the exhibit
    18   through a sponsoring witness. Counsel shall introduce the exhibit by exhibit
    19   number and have permission from the Court to admit the exhibit into evidence
    20   prior to publishing.
    21          SO ORDERED.
    22
    23          Dated: July 10, 2018
    24
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                                               The Honorable R. Gary Klausner
    26                                         United States District Court Judge
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    28
         Case No. 2:17-cv-03221 RGK (MRWx)
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